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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF T!
DALLAS DIVISION

UNITED STATES OF AMERICA
Case No.
Vv.

DAVID MARCUS EASLER

INDICTMENT
The Grand Jury Charges:
At times material to the indictment:

Introduction

EXAS

 

—

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 
   

FILED

 

 

JAN 2.8 2020

 

 

By,

CLERK, U.S. DISTRICT COURT

Deputy

 

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1. David Marcus Easler (hereinafter “Easler”), was employed during the

period from about 1996 to 2017 as a computer software engineer in Nevada, California,

Colorado and Texas.

2. During the period from at least about 2009 through 2017, Easler earned

approximately $836,699 in wages.

3. As a result of his long standing failure to pay his income taxes from about

1996 thru 2017, Easler had an outstanding tax balance of approximately $326,257 as of

January 21, 2019.

4. The Internal Revenue Service (IRS) is and was an agency of the United

States Department of Treasury responsible for administering the tax laws of the United

States and collecting taxes owed to the Treasury of the United States. Timely payment of

lawful taxes due is the legal responsibility of all citizens.

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5. Beginning in at least 2004 and continuing through 2017, the IRS sent
several Notices of Levy on Wages to Easler in an effort to collect past due income taxes.
These Notices of Levy on Wages, as well as other IRS collection actions, were part of
ongoing targeted administrative actions needed to collect Easler’s past due taxes.

6. When the IRS became aware of Easler’s employment with a particular
company, the IRS attempted to collect Easler’s past due income taxes by either
withholding taxes from his salary, or by using tax levies and/or garnishment of wages
from Easler’s current employer.

7. During the period from 2009 through 2016, in direct response to repeated
IRS efforts to collect past due taxes, Easler filed four different voluntary petitions for
bankruptcy in an ongoing effort to obstruct and impede IRS efforts to collect Easler’s
past due income taxes. With some of these bankruptcy filings, Easler also filed false and
fraudulent tax returns and other tax return related documents.

8. As part of his 2009 bankruptcy filing, Easler also submitted several false
tax returns (IRS Form 1040) covering several tax years which falsely represented to the
IRS that Easler had “0” taxable income.

9. During the period from about 2011 through 2014, Easler signed and
submitted, and caused to be submitted to the IRS three false and fraudulent U.S. Non-
Resident Alien income Tax Returns, Forms 1040NR, in which Easler falsely claimed
that he was a “non-resident of the United States”, as well as other false statements.

10. During the period from about 2012 through 2015, Easler also provided a

false and fraudulent Employee’s Withholding Certificate, IRS Form W-4, to several

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employers in which Easler falsely represented the number of exemptions he was entitled
to claim.

11. During a November 17, 2014 bankruptcy hearing in which Easler was
present and testified, a United States Bankruptcy Judge made several statements to
Easler, to include: Easler’s theory to justify his non-payment of income taxes was “all a
big ruse to keep people from paying taxes”; Easler’s theory amounted to a “tax evasion
system”; and if Easler continued to refuse to pay his income taxes, “It’s not going to do
anything for you in the courts of this country. You’re just wasting your time.”

12. Even after Easler received personal warnings in November 2014 from a
United States Bankruptcy Judge that Easler’s refusal to pay taxes amounted to a “tax
evasion system” and was a “big ruse”, Easler continued to obstruct and impede the IRS
efforts to collect Ealser’s past due income taxes. On June 26, 2015 and on November
21, 2016, Easler filed two additional bankruptcy petitions to stop IRS tax collection

efforts.

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Count One
Corruptly Endeavor to Obstruct and Impede
the Due Administration of the Internal Revenue Laws
(Violation of 26 U.S.C. § 7212(a))
13. The Grand Jury realleges and incorporates by reference the allegations
contained in Paragraphs 1 through 12 of this Indictment as if fully set forth herein.

14. Beginning at least in or about 2009, and continuing through at least in or
about 2018, the exact dates being unknown to the grand jury, in the Dallas Division of the
Northern District of Texas and elsewhere, defendant David Marcus Easler, did corruptly
endeavor to obstruct and impede the due administration of the internal revenue laws of
the United States by, among other things: (a) providing employers with false Employee’s
Withholding Allowance Certificates, IRS Forms W-4 (hereafter “IRS Form W-4”); (b)
filing false U.S. Individual Income Tax Returns, IRS Forms 1040 (hereinafter “IRS Form
1040”); (c) filing false U.S. Nonresident Alien Income Tax Returns, Forms 1040NR
(hereinafter “Form 1040NR”); and (d) filing bankruptcy petitions and related documents
designed to stop IRS collection activities.

Corrupt Acts in Furtherance of Obstruction

The acts committed in furtherance of the endeavor to corruptly obstruct and
impede IRS tax collection actions included, but were not limited to, the following:

15. Onor about October 16, 2009, in response to eight different IRS
levy/garnishment actions in which the IRS collected a total of about $30,400 of Easler’s

wages during the period from March 3, 2009 through October 5, 2009, Easler filed, and

caused to be filed, a Voluntary Petition in the United States Bankruptcy Court in Dallas,

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Texas, Case No. 09-36982 in order to stop IRS collection efforts.

16. Onor about December 22, 2009, Easler signed, and submitted and caused
to be submitted to the IRS, several IRS Forms 1040 falsely reporting “0” taxable income
for tax years 1997, 2000, 2001, and 2007.

17. On or about October 16, 2011, Easler signed, and submitted and caused to
be submitted to the IRS, an IRS Form 1040NR for tax year 2010, falsely claiming that he
was a non-resident of the United States residing in the country of Texas; falsely reporting
that he had “0” taxable income; and claiming a tax refund of $26,551.

18. Onor about September 19, 2012, Easler provided his employer,
Winsystems, Inc. with an IRS Form W-4, which falsely represented that Easler was
entitled to “9” exemptions.

19. Onor about October 13, 2013, Easler signed, and submitted and caused to
be submitted to the IRS, an IRS Form 1040NR for tax year 2012, falsely claiming that he
was a non-resident of the United States residing in the foreign country of Texas; falsely
reporting that he had “0” taxable income; and falsely claiming a tax refund of $3,421.

20. Onor about January 7, 2014, Easler provided his employer, WinSystems,
Inc., with an IRS Form W-4, which falsely represented that Easler was “exempt” from
withholding, and eliminated the amount of taxes withheld.

21. Onor about April 14, 2014, Easler signed, and submitted and caused to be
submitted to the IRS, an IRS Form 1040NR for tax year 2013, falsely claiming that he
was a non-resident of the United States residing in the foreign country of Texas; falsely
reporting that he had “0” taxable income; and falsely claiming a tax refund of $15,223.

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22. Onor about May 28, 2014, in response to a Notice of Levy on Wages filed
by the IRS on May 2, 2014, Easler filed a Voluntary Petition in the United States
Bankruptcy Court in Dallas, Texas, Case No. 14-42128 in order to stop IRS collection
efforts.

23. On or about August 4, 2014, in United States Bankruptcy Court, Case
Number 14-42128, Easler filed a false and fraudulent Amended Schedule B - Personal
Property, falsely stating and representing that Easler an interest in “Fidelity Value
Strategies (FSLSX)”, with a purported value of $347,220,000.

24. Onor about June 26, 2015, in response to a Notice of Levy on Wages filed
by the IRS on June 12, 2015, Easler filed a Voluntary Petition in the United States
Bankruptcy Court in Dallas, Texas, Case No. 15-42490 in order to stop IRS collection
efforts.

25. Onor about September 9, 2015, Easler provided his employer, Newark
Corporation, with an IRS Form W-4, falsely representing that Easler was “exempt” from
withholding.

26. Onor about November 21, 2016, in response to a Notice of Levy on Wages
filed by the IRS on November 14, 2016, Easler filed a Voluntary Petition in the United
States Bankruptcy Court in Dallas, Texas, Case No. 16-34506 in order to stop IRS
collection efforts.

In violation of 26 U.S.C. § 7212(a).

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Count Two .
Attempt to Evade and Defeat Tax (Evasion of Assessment)
(Violation of 26 U.S.C. § 7201)

27. |The Grand Jury realleges and incorporates by reference the allegations
contained in Paragraphs 1 through 26 of this Indictment as if fully set forth herein.

28. From in or about September 19, 2012 through in or about April 15, 2014, in
the Dallas Division of the Northern District of Texas, defendant David Marcus Easler, a
resident of Arlington, Texas, willfully attempted to evade and defeat income tax due and
owing by him to the United States of America, for the calendar year 2013, by preparing
and causing to be prepared, and by signing and causing to be signed, .a false and
fraudulent Form 1040 NR, which was submitted to the Internal Revenue Service. On that
tax return, Easler reported and caused to be reported that his taxable income for the
calendar year 2013 was $0. In fact, as defendant Easler then knew, his taxable income
for the year 2013 was greater than the amount reported on the income tax return, and as a
result of such additional taxable income, there was an additional tax due and owing to the

United States of America.

In violation of 26 U.S.C. § 7201.

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Counts Three through Six
Willful Failure to File Individual Income Tax Return
(Violation of 26 U.S.C. § 7203)

29. The Grand Jury realleges and incorporates by reference the allegations
contained in Paragraphs 1 through 28 of this Indictment as if fully set forth herein.

30. During the calendar years referenced in the chart below, the defendant,
David Marcus Easler, had and received gross income in excess of the minimum filing
requirements referenced in the chart below. By reason of such gross income, he was
required by law, following the close of the calendar year referenced in the chart below, to
make an income tax return to a person assigned to receive returns at the local office of the
Internal Revenue Service at Dallas, Texas, or to another Internal Revenue Service office
permitted by the Commissioner of Internal Revenue, stating specifically the items of his
gross income and any deductions and credits to which he was entitled. Well knowing and

believing all of the foregoing, he did willfully fail, on or about the due date referenced in

the chart below, in the Northern District of Texas, to make an income tax return:

 

 

 

 

 

 

 

 

Count Year Minimum Filing Requirement | Due Date of Tax Return
3 2014 $10,250 April 15, 2015
4 2015 $10,300 April 18, 2016
5 2016 $10,350 April 18, 2017
6 2017 $10,400 April 17, 2018

 

 

 

In violation of 26 U.S.C. § 7203.

---- NOTHING FURTHER ON THIS PAGE ----

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A TRUE BILL

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA
Vv.

DAVID MARCUS EASLER

 

INDICTMENT

26 U.S.C. § 7212(a)

Corruptly Endeavor to Obstruct and Impede
the Due Administration of the Internal Revenue Laws
(Count 1)

26 U.S.C. § 7201
Attempt to Evade and Defeat Tax (Evasion of Assessment)
(Count 2)

Violation of 26 U.S.C. § 7203
Willful Failure to File Individual Income Tax Return

 

 

(Counts 3 through 6)
6 Counts
A true bill rendered
A
DALLAS LL BK. FOREPERSON

 

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Filed in open court thisLO day of January, 2020. {>
Warrant to be Issued / AN /
( {

“UNITED STATES MAGISTRATE JOBGE )

No ‘Grifminal Matter Pending

 

 

 

 

 
